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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------x
JANE DOE # 1,
JANE DOE # 2,                                                 Civil Case No.: 19-cv-1542

                                                              PLAINTIFF DEMANDS
                                   Plaintiffs,                A TRIAL BY JURY

                 -against-                                    COMPLAINT

JETBLUE AIRWAYS CORPORATION,
ERIC JOHNSON, individually, and
DAN WATSON, individually

                                    Defendants.
------------------------------------------------------x


        Plaintiffs, JANE DOE #1 and JANE DOE # 2, by and through their attorneys, DEREK

SMITH LAW GROUP, PLLC, hereby complains of defendants, JETBLUE AIRWAYS

CORPORATION (hereinafter “JET BLUE”), ERIC JOHNSON, individually (hereinafter

“JOHNSON”), and DAN WATSON, individually (hereinafter “WATSON”) upon information

and belief, as follow:



                                            NATURE OF CASE

        Plaintiffs, JANE DOE #1 and JANE DOE # 2, complain pursuant to Title VII of the Civil

Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (amended in 1972, 1978 and by

the Civil Rights Act of 1991, Pub. L. No. 102-166 (“Title VII”), the Administrative Code of the

City of New York and the laws of the State of New York and of Puerto Rico, based upon the

supplemental jurisdiction of this Court pursuant to United Mine Workers of America v. Gibbs,

383 U.S. 715 (1966), and 28 U.S.C. §1367 seeking declaratory relief and damages to redress the

injuries Plaintiffs have suffered as a result of, inter alia, sex discrimination, gender



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discrimination, sexual harassment, hostile work environment by Defendants.



                                    JURISDICTION AND VENUE

1.     Jurisdiction of this action is conferred upon this Court as this case involves a Federal

Question under Title VII. The Court also has diversity jurisdiction, as all of the Plaintiff’s are

diverse from all of the Defendants, and Plaintiffs each claim at least $75,000 in damages

exclusive of attorney’s fees and costs. The Court also has jurisdiction pursuant to 29 U.S.C.

§2617; 28 U.S.C. §1331, §1343 and pendent jurisdiction thereto.

2.     Additionally, the Court has supplemental jurisdiction under the State and City laws of

New York and Puerto Rico.

3.     Around July 17, 2018, Plaintiff JANE DOE #1, submitted a Charge of Discrimination to

the U.S. Equal Employment Opportunity Commission (“EEOC”). The federal charge number is

520-2018-04968.

4.     Around July 2, 2018, Plaintiff JANE DOE # 2 submitted a Charge of Discrimination to

the U.S. Equal Employment Opportunity Commission (“EEOC”). The federal charge number is

520-2018-04708.

5.     Around February 4, 2018, Plaintiff JANE DOE #1 received a Right to Sue Letter from

the EEOC for her federal charge number 520-2018-04968.

6.     Around February 14, 2018, Plaintiff JANE DOE # 2 received a Right to Sue Letter from

the EEOC for her federal charge number 520-2018-04708.

7.     As such, Plaintiffs have satisfied all administrative prerequisites and is timely filing this

case within ninety (90) days of receiving her Right to Sue letter.

8.     Venue is proper in this court, as a substantial part of the events giving rise to this action




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arose in Queens County, within the Eastern District of New York, as well because the

Defendants reside within New York, and Defendant JETBLUE is incorporated in Queens County

within the Eastern District of New York.



                                           PARTIES

9.      At all times material, Plaintiff JANE DOE #1 (herein referred to as “Plaintiff” and/or

“DOE #1”) is seeking damages to redress injuries Plaintiff has suffered as a result of being

discriminated against by her employer on the basis of her sex and gender, together with sexual

assault and harassment.

10.     At all times material, Plaintiff JANE DOE #1 is an individual woman residing in

Riverton Utah.

11.     At all times material, Defendant JETBLUE AIRWAYS CORPORATION was and still is

a foreign business corporation doing business in the State of New York, with their principal

place     of     business     located      at       27-01   QUEENS       PLAZA       NORTH

LONG ISLAND CITY, NEW YORK, 11101.

12.     At all times material, Plaintiff JANE DOE #1 was employed by Defendants JETBLUE

AIRWAYS CORPORATION.

13.     At all times material, Plaintiff JANE DOE # 2 is an individual female residing in Fort

Worth Texas.

14.     At all times material, Plaintiff JANE DOE #2 was employed by Defendants JETBLUE

AIRWAYS CORPORATION.

15.     At all times material, Defendant ERIC JOHNSON (hereinafter referred to as

“JOHNSON”), was and is a Flight Officer employed by JETBLUE AIRWAYS




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CORPORATION, residing in Washington D.C., and held supervisory authority over Plaintiff

with regard to her employment.

16.    At all times material, Defendant DAN WATSON (hereinafter referred to as

“WATSON”),       was   and    is   a   Flight   Officer   employed   by   JETBLUE   AIRWAYS

CORPORATION, residing in Washington D.C., and held supervisory authority over Plaintiff

with regard to her employment.



                                       RELEVANT FACTS

JANE DOE # 1

17.    On or about May 9, 2018, Plaintiff DOE # 1 worked a flight from Ronald Reagan

Washington National Airport in Washington D.C. to Luis Muñoz Marín International Airport in

San Juan Puerto Rico, and then returning to Newark New Jersey. Plaintiff DOE # 1 arrived in

San Juan around 1:00 p.m. with a layover until the next morning.

18.    Plaintiff, along with crew-member Jane Doe # 2 and another crew-member, went to

Intercontinental Hotel in San Juan, Puerto Rico, checked in, went to their rooms to change and

then went to the beach to relax.

19.    Plaintiff, along with crewmembers Doe # 2 and the other crew-member, arrived at the

beach, found some chairs and set up camp, where they schmoozed, and relaxed with some drinks

they had prepared.

20.    Plaintiff, along with Doe # 2 and the other crewmember noticed two men, Defendants

Johnson and Watson, sitting near them and noticed they were pulling beers out of a lunch bag.

Doe #1, Doe # 2 and the other crewmember began talking to Johnson and Watson and found out

they were both pilots for Defendant JETBLUE.




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21.    After some time, Defendant JOHNSON handed an opened beer from his lunch box to

Plaintiff Doe # 1. She drank some of the beer, handed it to Doe # 2 who drank some of the beer

and then handed it to the other crewmember, who also drank from the same can. The beer was

laced with a drug, and after that point, the rest of the night became a blur for Doe # 1, Doe # 2

and the other crewmember.

22.    Plaintiff Doe # 1 did not remember when or how, but the group left the beach and headed

back to the hotel.

23.    Plaintiff, in a haze from being drugged, next became aware that she was in bed with

Defendant JOHNSON and her fellow crewmember.              Defendant JOHNSON was on top of

Plaintiff raping her by penetrating her vaginally against her will. Plaintiff felt the influence of

the drug that Defendant JOHNSON laced the beer with, and Plaintiff was unable to react to the

situation, but was simply aware that it was happening. Plaintiff’s flashes of memory included

Defendant JOHNSON having sexual intercourse with the other crewmember who was also under

the influence of the drugs. Defendant JOHNSON also said, “thank you for making my fantasy

come true.”

24.    The next morning, when Plaintiff awoke, she was groggy and felt numb. When Plaintiff

got on the airplane for her return trip to Newark Airport in Newark New Jersey, Plaintiff spoke

with the third female crewmember who had also been drugged and raped, and they both

expressed to each other that they were stunned by what had happened. During the flight,

Plaintiff, Doe # 2 and the third crewmember were all nauseous and each had to use the bathroom

to vomit, an effect they had not felt before despite having consumed alcohol previously.

25.    When Plaintiff arrived at Newark airport that day, May 10, 2018, she developed a

tremendous fear that she may have been exposed to an STD when Defendant JOHNSON raped




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her, so she emailed Defendant JOHNSON and asked him to contact her.

26.    Plaintiff then went to speak to Doe # 2 to piece together any more information about the

night before. Plaintiff and Doe # 2 were then joined by the third crewmember, and they

discussed the effects they all felt, including nausea, dizziness, loss of memory, vomiting and not

feeling a reaction to the events of the evening. The three of them then looked up the symptoms

of rape drugs and found their symptoms were consistent with having been drugged, and that they

all began feeling those symptoms and effects right after drinking from the Defendants’ beer,

which further confirmed that they had been drugged by Defendants JOHNSON and WATSON.

27.    While Plaintiff, Doe # 2 and the third crewmember were talking, Defendant JOHNSON

emailed Plaintiff back. Plaintiff told Defendant JOHNSON that she was concerned she had

contracted an STD, and asked Defendant JOHNSON if he was STD free, as she and the third

crewmember were. Defendant JOHNSON replied that he would get tested.

28.    The next day, on or about May 11, when Plaintiff completed her trip and returned home,

immediately upon landing, Plaintiff went to the hospital and let them know she had been drugged

and sexually assaulted, and she asked to be tested for any drugs. Plaintiff was tested and was

given medication to help prevent STDs. The hospital reported the incident and the police were

contacted and prepared a report.

29.    Plaintiff reported the sexual assault, rape and sex and gender discrimination to Defendant

JETBLUE at their corporate headquarters in New York, and despite JETBLUE purporting to

investigate the matter, no corrective action was ever taken against Defendants JOHNSON and

WATSON.

30.    After she was raped, Plaintiff was informed by her medical doctor that despite the fact

that she had been previously tested and was STD free, she had contracted the STD human




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papillomavirus (“HPV”), which she could only have contracted from Defendant JOHNSON.

31.     Defendant JOHNSON intentionally gave Plaintiff DOE # 1 HPV.

32.     Defendants JOHNSON and WATSON drugged Plaintiff and although he left the scene

after having been scratched, Defendant WATSON drugged Plaintiff with the intent to rape

Plaintiff.

33.     As a result of Defendant’s actions, Plaintiff felt extremely humiliated, degraded,

victimized, embarrassed and emotionally distressed.

34.     As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

continue to suffer the loss of income, the loss of salary, bonuses, benefits and other

compensation which such employment entails, and Plaintiff also suffered future pecuniary

losses, emotional pain, humiliation, suffering, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses. Plaintiff has further experienced severe emotional and physical distress.

35.     As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

knowledge of the law, Plaintiff demands Punitive Damages against all the Defendants, jointly

and severally.

36.     The above are just some examples of some of the unlawful discrimination and retaliation

to which Defendant subjected Plaintiff.

37.     Defendants’ actions constituted a continuing violation of the applicable federal, state city

and county laws.

38.     Plaintiff claims constructive discharge.



JANE DOE # 2

39.     On or about May 9, 2018, Plaintiff DOE # 2 worked a flight from Ronald Reagan




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Washington National Airport in Washington D.C. to Luis Muñoz Marín International Airport in

San Juan Puerto Rico, and then returning to Newark New Jersey. Plaintiff DOE # 2 arrived in

San Juan around 1:00 p.m. with a layover until the next morning.

40.    DOE # 2, along with crew member DOE # 1 and the third crewmember, went to the

Intercontinental Hotel in San Juan, Puerto Rico, checked in, went to their rooms to change and

then went to the beach to relax.

41.    DOE # 2, along with DOE # 1 and the third crewmember, arrived at the beach, found

some chairs and set up camp, where they schmoozed, and relaxed with drinks they had prepared.

42.    DOE # 2, along with DOE # 1 and the third crewmember noticed two men (Defendants

JOHNSON and WATSON) sitting near them and noticed they were pulling beers out of a lunch

bag. DOE # 2, DOE # 1 and the third crewmember began talking to Defendants JOHNSON and

WATSON and found out they worked for Defendant JETBLUE and were both pilots.

43.    After some time, Defendant JOHNSON handed an opened beer from his lunch box to

DOE # 1. She drank some of the beer, handed it to Plaintiff DOE # 2, who drank some of the

beer and then handed it to the third crewmember who also drank from the same can. The beer

was laced with a drug, and after that point, the rest of the night became a blur.

44.    The next memory Plaintiff DOE # 2 has of the evening was being on the elevator at the

hotel. Plaintiff DOE # 2 does not know she got to the elevator or how she left the beach. On the

elevator Defendant JOHNSON said, “we’ll take [Doe # 2] up to her floor first” which DOE # 2

thought was odd because her floor was the highest/last floor of all of them. After that point

Plaintiff DOE # 2 has very spotty memories because of the drugs that she ingested from the beer

can from Defendants JOHNSON and WATSON. Plaintiff DOE # 2 vomited a number of times

throughout the night and was generally sick from the drugs.




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45.    Defendants JOHNSON and WATSON drugged Plaintiff DOE # 2 and intended to rape

Plaintiff DOE # 2, but did not when Plaintiff DOE # 2 began vomiting which was a turnoff.

46.    The next morning, around May 10, 2018, Plaintiff DOE # 2 woke up extremely nauseous,

tired, and in a weird out of body fog. Plaintiff DOE # 2 worked the return flight but was

extremely nauseous and threw up twice in the airplane bathroom and once in a bag in the back

galley, as both bathrooms were occupied. The sleepiness was something Plaintiff never felt in

her life. When Plaintiff arrived at her hotel in Newark, New Jersey, she fell right back asleep for

quite some time. When she awoke, she was still extremely nauseous, tired and in a fog, feeling

the effects of the drugs.

47.    Plaintiff’s fellow crewmember, DOE # 1 texted Plaintiff and went to Plaintiff’s room to

discuss what had occurred. Plaintiff and DOE # 2 texted the third crewmember to join them, and

they all discussed the effects they each felt from having been drugged by Defendants JOHNSON

and WATSON. DOE # 1 and the third crewmember described how they had returned to DOE #

1’s room with Defendant JOHNSON, who then sexually assaulted and raped both DOE # 1 and

the third crewmember.

48.    It was not until approximately three days later that Plaintiff DOE # 2 finally stopped

feeling nauseous and the fog from the drugs finally lifted, though the extreme tiredness and

groggy feeling remained for approximately another day.

49.    Defendants JOHNSON and WATOSN assaulted and battered Plaintiff DOE # 2 and

drugged her, with the intent of sexually assaulting and raping her, because of her sex and gender.

50.    Plaintiff DOE # 2 reported the attempted rape and sex and gender discrimination to

Defendant JETBLUE in their New York headquarters, but no corrective action was ever taken

against Defendants JOHNSON and WATSON.




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 51.     As a result of the Defendant’s actions, Plaintiff DOE # 2 felt extremely humiliated,

 degraded, victimized, embarrassed and emotionally distressed.

 52.     As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

 continue to suffer the loss of income, the loss of salary, bonuses, benefits and other

 compensation which such employment entails, and Plaintiff also suffered future pecuniary

 losses, emotional pain, humiliation, suffering, inconvenience, loss of enjoyment of life, and other

 non-pecuniary losses. Plaintiff has further experienced severe emotional and physical distress.

 53.     As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

 knowledge of the law, Plaintiff demands Punitive Damages against all the Defendants, jointly

 and severally.

 54.     The above are just some examples of some of the unlawful discrimination and retaliation

 to which Defendants subjected Plaintiff.

 55.     Defendants’ actions constituted a continuing violation of the applicable federal, state city

 and county laws.

 56.     Plaintiff claims constructive discharge.



                               AS A FIRST CAUSE OF ACTION
                         FOR DISCRIMINATION UNDER TITLE VII
                      On Behalf of Plaintiffs JANE DOE # 1 and JANE DOE # 2
                              (Not Against Individual Defendants)

 57.     Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 58.     Title VII states in relevant part as follows: SEC. 2000e-2. [Section 703] (a) Employer

 practices, It shall be an unlawful employment practice for an employer - (1) to fail or refuse to

 hire or to discharge any individual, or otherwise to discriminate against any individual with



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 respect to his compensation, terms, conditions, or privileges of employment, because of such

 individual’s race, color, religion, sex, or national origin;

 59.     JET BLUE DEFENDANTS engaged in unlawful employment practices prohibited by 42

 U.S.C. §2000e et seq., by allowing sex discrimination, gender discrimination and a hostile work

 environment.



                             AS A SECOND CAUSE OF ACTION
                           FOR RETALIATION UNDER TITLE VII
                      On Behalf of Plaintiffs JANE DOE # 1 and JANE DOE # 2
                              (Not Against Individual Defendants)

 60.     Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 61.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3(a)

 provides that it shall be unlawful employment practice for an employer:

         “(1) to . . . discriminate against any of his employees . . . because [s]he has opposed any

         practice made an unlawful employment practice by this subchapter, or because [s]he has

         made a charge, testified, assisted or participated in any manner in an investigation,

         proceeding, or hearing under this subchapter.”

 62.     JET BLUE DEFENDANTS engaged in unlawful employment practice prohibited by 42

 U.S.C. §2000e et seq. by retaliating against Plaintiff with respect to the terms, conditions or

 privileges of employment because of Plaintiff’s opposition to the unlawful employment practices

 of Defendants.




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                                 AS A THIRD CAUSE OF ACTION
                                 FOR DISCRIMINATION UNDER
                                    NEW YORK STATE LAW
                                      (Against All Defendants)

 63.     Plaintiff repeats and re-alleges each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 64.     Executive Law §296 provides that “1. It shall be an unlawful discriminatory practice: (a)

 For an employer or licensing agency, because of an individual's age, race, creed, color, national

 origin, sexual orientation, military status, sex, disability, predisposing genetic characteristics,

 marital status, or domestic violence victim status, to refuse to hire or employ or to bar or to

 discharge from employment such individual or to discriminate against such individual in

 compensation or in terms, conditions or privileges of employment.”

 65.     Defendants engaged in an unlawful discriminatory practice by discriminating against

 Plaintiffs because of their sex and gender.

 66.     Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs

 of New York State Executive Law § 296.



                                AS A FOURTH CAUSE OF ACTION
                                 FOR DISCRIMINATION UNDER
                                    NEW YORK STATE LAW
                                      (Against All Defendants)

 67.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 68.     New York State Executive Law §296(6) further provides that “It shall be an unlawful

 discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any of

 the acts forbidden under this article, or to attempt to do so.”




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 69.     Defendants engaged in an unlawful discriminatory practice by aiding, abetting,

 compelling and/or coercing the discriminatory behavior as stated herein.



                                 AS A FIFTH CAUSE OF ACTION
                                  FOR RETALIATION UNDER
                                    NEW YORK STATE LAW
                                     (Against All Defendants)

 70.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 71.     New York State Executive Law §296(7) provides that it shall be an unlawful

 discriminatory practice: "For any person engaged in any activity to which this section applies to

 retaliate or discriminate against any person because [s]he has opposed any practices forbidden

 under this article."

 72.     Defendants engaged in an unlawful discriminatory practice by wrongfully retaliating

 against the Plaintiffs with their constructive discharge.



                              AS A SIXTH CAUSE OF ACTION
                              FOR DISCRIMINATION UNDER
                        THE NEW YORK CITY ADMINISTRATIVE CODE
                                  (Against All Defendants)

 73.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 74.     The Administrative Code of City of NY §8-107 [1] provides that "It shall be an unlawful

 discriminatory practice: "(a) For an employer or an employee or agent thereof, because of the

 actual or perceived age, race, creed, color, national origin, gender, disability, marital status,

 sexual orientation or alienate or citizenship status of     any person, to refuse to hire or




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 employ or to bar or to discharge from employment such person or to discriminate against such

 person in compensation or in terms, conditions or privileges of employment."

 75.     Defendants engaged in an unlawful discriminatory practice in violation of New York City

 Administrative Code Title 8, by creating and maintaining discriminatory working conditions and

 a hostile work environment, and otherwise discriminating against Plaintiffs because of their sex

 and gender.

 76.     Plaintiffs hereby makes a claim against Defendants under all of the applicable paragraphs

 of New York City Administrative Code Title 8.



                            AS A SEVENTH CAUSE OF ACTION
                             FOR DISCRIMINATION UNDER
                       THE NEW YORK CITY ADMINISTRATIVE CODE
                                  (Against All Defendants)

 77.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 78.     The New York City Administrative Code Title 8, §8-107(7) provides that it shall be

 unlawful discriminatory practice: "For an employer . . , to discharge . . . or otherwise

 discriminate against any person because such person has opposed any practices forbidden under

 this chapter. . . "

 79.     Defendants engaged in an unlawful discriminatory practice in violation of New York City

 Administrative Code Tide 8, §8-107(1) (e) by discriminating against Plaintiffs because of their

 opposition to the unlawful employment practices of Plaintiffs’ employer.




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                           AS AN EIGHTH CAUSE OF ACTION
                            FOR DISCRIMINATION UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE
                                 (Against All Defendants)

 80.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as is fully set forth at length.

 81.     The New York City Administrative Code Title 8, §8-107(6) provides that it shall be

 unlawful discriminatory practice: "For any person to aid, abet, incite, compel; or coerce the

 doing of any of the acts forbidden under this chapter, or attempt to do so."

 82.     Defendants engaged in an unlawful discriminatory practice in violation of New York City

 Administrative Code Title 8, §8-107(6) by aiding, abetting, inciting, compelling and coercing the

 above discriminatory, unlawful and retaliatory conduct.



                            AS A NINTH CAUSE OF ACTION
                            FOR DISCRIMINATION UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE
                                 (Against All Defendants)

 83.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as if fully set forth at length.

 84.     Section 8-107(19), entitled Interference With Protected Rights provides that “It shall be

 an unlawful discriminatory practice for any person to coerce, intimidate, threaten or interfere

 with, or attempt to coerce, intimidate, threaten or interfere with, any person in the exercise or

 enjoyment of, or on account of his or her having aided or encouraged any other person in the

 exercise or enjoyment of, any right granted or protected pursuant to this section.”

 85.     Defendants violated the above section as set forth herein.




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                            AS A TENTH CAUSE OF ACTION
                            FOR DISCRIMINATION UNDER
                      THE NEW YORK CITY ADMINISTRATIVE CODE
                                 (Against All Defendants)

 86.     Plaintiffs repeat and re-allege each and every allegation made in the above paragraphs of

 this complaint as is fully set forth at length.

 87.     Section 8-107(13) entitled Employer Liability for Discriminatory Conduct by Employee,

 agent or independent contractor provides "An employer shall be liable for an unlawful

 discriminatory practice based upon the conduct of an employee or agent which is in violation of

 any provision of this section other than subdivisions one and two of this section." b. An employer

 shall be liable for an unlawful discriminatory practice based upon the conduct of an employee or

 agent which is in violation of subdivision one or two of this section only where: (1) the employee

 or agent exercised managerial or supervisory responsibility; or (2) the employer knew of the

 employee's or agent's discriminatory conduct, and acquiesced in such conduct or failed to take

 immediate and appropriate corrective action; an employer shall be deemed to have knowledge of

 an employee's or agent's discriminatory conduct where that conduct was known by another

 employee or agent who exercised managerial or supervisory responsibility; or (3) the employer

 should have known of the employee's or agent's discriminatory conduct and failed to exercise

 reasonable diligence to prevent such discriminatory conduct.

 88.     Defendants violated the above section as set forth herein.



                   AS AN ELEVENTH CAUSE OF ACTION FOR
                           ASSAULT AND BATTERY
          AGAINST DEFENDANTS JOHNSON AND WATSON, INDIVIDUALLY,

 89.     Plaintiffs repeat, reiterate and re-allege each and every allegation made in the above

 paragraphs of this Complaint as if more fully set forth herein at length.



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 90.    That the aforesaid occurrences and resultant injuries to Plaintiffs were caused by reason of

 the intent, carelessness and recklessness of Defendants, their agents, servants and/or employees,

 suddenly and without provocation did physically assault and batter Plaintiffs herein.



  AS A TWELFTH CAUSE OF ACTION BY VICTIM OF CONDUCT CONSTITUTING
                      CERTAIN SEXUAL OFFENSES
           AGGRAVATED SEXUAL ABUSE IN THE FIRST DEGREE
                 ON BEHALF OF PLAINTIFF JANE DOE # 1
             AGAINST DEFENDANT JOHNSON, INDIVIDUALLY

 91.    Plaintiffs repeat, reiterate and re-allege each and every allegation made in the above

 paragraphs of this Complaint as if more fully set forth herein at length.

 92.    § 130.35 of the New York State Penal Law provides as follows: Rape in the first degree 1

 A person is guilty of rape in the first degree when he or she engages in sexual intercourse with

 another person: 1. By forcible compulsion; or 2. Who is incapable of consent by reason of being

 physically helpless; or 3. Who is less than eleven years old; or 4. Who is less than thirteen years

 old and the actor is eighteen years old or more. NY CLS Penal § 130.35

 93.    § 130.50 of the New York State Penal Law provides as follows: Criminal sexual act in

 the first degree 1 A person is guilty of criminal sexual act in the first degree when he or she

 engages in oral sexual conduct or anal sexual conduct with another person: 1. By forcible

 compulsion; or 2. Who is incapable of consent by reason of being physically helpless; or 3. Who

 is less than eleven yeas old; or 4. Who is less than thirteen years old and the actor is eighteen

 years old or more. NY CLS Penal § 130.50.

 94.    Section 130.70 of the New York State Penal Law; “Aggravated sexual abuse in the first

 degree” provides that “A person is guilty of aggravated sexual abuse in the first degree when he

 inserts a foreign object in the vagina, urethra, penis or rectum of another person causing physical




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 injury to such person:

          (1) By forcible compulsion; or

          (2) Who is incapable of consent by reason of being physically helpless;

 95.      Aggravated sexual abuse in the first degree is a class B felony.”

 96.      Defendant JOHNSON violated the herein sections as set forth herein.

 97.      Defendant JOHNSON sexually assaulted Plaintiffs in a way that was in violation of the

 above.

 98.      § 213-c of the Civil Practice Law and Rules provides as follows: Action by victim of

 conduct constituting certain sexual offenses: Notwithstanding any other limitation set forth in

 this article, a civil claim or cause of action to recover from a defendant as hereinafter defined, for

 physical, psychological or other injury or condition suffered by a person as a result of acts by

 such defendant of rape in the first degree as defined in section 130.35 of the penal law, or

 criminal sexual act in the first degree as defined in section 130.50 of the penal law, or aggravated

 sexual abuse in the first degree as defined in section 130.70 of the penal law, or course of sexual

 conduct against a child in the first degree as defined in section 130.75 of the penal law may be

 brought within five years. As used in this section, the term "defendant" shall mean only a person

 who commits the acts described in this section or who, in a criminal proceeding, could be

 charged with criminal liability for the commission of such acts pursuant to section 20.00 of the

 penal law and shall not apply to any related civil claim or cause of action arising from such acts.

 Nothing in this section shall be construed to require that a criminal charge be brought or a

 criminal conviction be obtained as a condition of bringing a civil cause of action or receiving a

 civil judgment pursuant to this section or be construed to require that any of the rules governing

 a criminal proceeding be applicable to any such civil action. NY CLS CPLR § 213-c.




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 99.    Defendant JOHNSON is civilly liable under § 213-c for violating all of the above

 Sections of the New York State Penal Law as described above.

 100.   Defendant JOHNSON violated the above law as set forth herein.



                     AS A THIRTEENTH CAUSE OF ACTION
              GENDER MOTIOVATED VIOLENCE PROTECTION ACT
            ON BEHALF OF PLAINTIFFS JANE DOE # 1 AND JANE DOE # 2
          AGAINST DEFENDANTS JOHNSON AND WATSON, INDIVIDUALLY,

 101.   Plaintiffs repeat, reiterates and re-allege each and every allegation made in the above

 paragraphs of this Complaint as if more fully set forth herein at length.

 102.   N.Y. ADC. LAW § 8-903 states in relevant part “For purposes of this chapter: a. "Crime

 of violence" means an act or series of acts that would constitute a misdemeanor or felony against

 the person as defined in state or federal law or that would constitute a misdemeanor or felony

 against property as defined in state or federal law if the conduct presents a serious risk of

 physical injury to another, whether or not those acts have actually resulted in criminal charges,

 prosecution, or conviction. b. "Crime of violence motivated by gender" means a crime of

 violence committed because of gender or on the basis of gender, and due, at least in part, to an

 animus based on the victim's gender.

 103.   N.Y. ADC. LAW § 8-904 : NY Code – Section 8-904: Civil Cause of Action states in

 relevant part “Except as otherwise provided by law, any person claiming to be injured by an

 individual who commits a crime of violence motivated by gender as defined in section 8-903 of

 this chapter, shall have a cause of action against such individual in any court of competent

 jurisdiction for any or all of the following relief: 1. compensatory and punitive damages; 2.

 injunctive and declaratory relief; 3. attorneys' fees and costs; 4. such other relief as a court may

 deem appropriate.”



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 104.    N.Y. ADC. LAW § 8-905 Limitations states in relevant part: “a. A civil action under this

 chapter must be commenced within seven years after the alleged crime of violence motivated by

 gender as defined in section 8-903 of this chapter occurred. . . . c. Nothing in this section requires

 a prior criminal complaint, prosecution or conviction to establish the elements of a cause of

 action under this chapter.

 105.    Defendants’ conduct constitutes crimes of “violence motivated by gender” under The

 Victims of Gender-Motivated Violence Protection Act (“VGMVPA”).

 106.    As a result of defendant’s acts, Plaintiffs have been damaged in an amount to be determined

 at the time of trial.



                    AS A FOURTEENTH CAUSE OF ACTION
            FOR INTENTIONAL INFLICTION OR EMOTIONAL DISTRESS
                        (AGAINST ALL DEFENDANTS)

 107.    Plaintiffs repeat and re-allege each and every allegation made in the complaint as if they

 were set forth herein fully at length.

 108.    Defendants’ behavior was extreme and outrageous to such extent that the action was

 atrocious and intolerable in a civilized society.

 109.    Defendants’ conduct was so outrageous in character and extreme in degree as to go

 beyond all possible bounds of decency.

 110.    Defendants caused Plaintiffs to fear for Plaintiffs’ own safety.

 111.    Defendants’ breach of their duties to Plaintiffs caused Plaintiffs to suffer numerous

 injuries as set forth herein.

 112.    As a result of Defendants’ acts, Plaintiffs have been damaged in an amount to be

 determined at the time of trial.




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                        AS A FIFTEENTH CAUSE OF ACTION
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                           (AGAINST ALL DEFENDANTS)

 113.   Plaintiffs repeat, reiterate and re-allege each and every allegation contained in the above

 paragraphs of this Complaint, with the same force and effect as if fully set forth herein

 114.   Defendants knew, or reasonably should have known, that Defendants were engaging in

 the unlawful behavior described herein above.

 115.   At all times material herein, Defendants knew, or reasonably should have known, that the

 conduct, acts, and failures to act of all other Defendants and/or supervisors, agents and

 employees as described herein above violated Plaintiffs rights under federal, state and municipal

 statutes, codes and ordinances.

 116.   At all times material herein, Defendants knew, or reasonably should have known, that the

 incidents, conduct, acts, and failures to act described herein above, would and did proximately

 result in emotional distress to Plaintiffs, including, but not limited to, loss of sleep, anxiety,

 tension, depression, and humiliation.

 117.   At all times material herein Defendants, and each of them, knew, or in the exercise of

 reasonable care should have known, that unless Defendants, and each of them, intervened to

 protect Plaintiffs, and to adequately supervise, prohibit, control, regulate, discipline, and/or

 otherwise penalize the conduct, acts, and failures to act, of all other Defendants and/or

 supervisors, agents or employees as alleged herein above, said conduct, acts, and failures to act

 would continue, thereby subjecting Plaintiffs to personal injury and emotional distress.

 118.   Defendants, and each of them, knew, or in the exercise of reasonable care should have

 known, that unless Defendants, and each of them, intervened to protect Plaintiffs, and to

 adequately supervise, prohibit, control, regulate, discipline, and/or otherwise penalize the




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 conduct, acts, and failures to act of the Defendants and others as described herein, Defendants'

 failure to so protect, supervise, and intervene would have the effect of encouraging, ratifying,

 condoning, exacerbating, increasing and worsening said conduct, acts, and failures to act.

 119.    At all times material herein, Defendants, and each of them, had the power, ability,

 authority, and duty to so intervene, supervise, prohibit, control, regulate, discipline, and/or

 penalize the conduct of all other Defendants and/or supervisors, agents or employees as

 described herein above.

 120.    Despite said knowledge, power, and duty, Defendants and each of them negligently failed

 to act so as to prevent, supervise, prohibit, control, regulate, discipline, and/or penalize such

 conduct, acts, and failures to act, or to otherwise protect Plaintiffs.

 121.    As a direct and proximate result of the failure of Defendants to protect Plaintiffs, and to

 adequately supervise, prohibit, control, regulate, discipline, and/or otherwise penalize the

 conduct, acts, and failures to act of all other Defendants and/or supervisors, agents or employees

 as alleged herein above, said conduct, acts, and failures to act were perceived by them as, and in

 fact had the effect of, ratifying, encouraging, condoning, exacerbating, increasing, and/or

 worsening said conduct, acts, and failures to act.

 122.    At all times material herein, the failure of Defendants to protect Plaintiffs, and to

 adequately supervise, prohibit, control, regulate, discipline, and/or otherwise penalize the

 conduct, acts, and failures to act of all other Defendants and/or supervisors, agents or employees

 violated Plaintiff’s rights under federal, state, and municipal statutes, codes and ordinances.

 123.    As a direct and proximate result of Defendants' actions and failures to act, Plaintiffs has

 suffered and will continue to suffer pain and suffering, and extreme and severe mental anguish

 and emotional distress; she has incurred and will continue to incur medical expenses for




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 treatment by mental health and other health professionals, and for other incidental expenses; and

 she has suffered and will continue to suffer a loss of earnings and other employment benefits and

 job opportunities.    Plaintiffs are thereby entitled to general and compensatory damages in

 amounts to be proven at trial.

 124.   Defendants' conduct as described herein was malicious and oppressive, and done with a

 conscious disregard of Plaintiffs’ rights. The acts of Defendants were performed with the

 knowledge of an employer's economic power over its employees. Defendants, through their

 officers, managing agents and/or supervisors, authorized, condoned and ratified the unlawful

 conduct of all of the other Defendants in this action. Consequently, Plaintiffs are entitled to

 punitive damages from all Defendants.



                           AS A SIXTEENTH CAUSE OF ACTION
                     FOR VIOLATIONS OF THE LAWS OF PUERTO RICO
                            (AGAINST ALL DEFENDANTS)

 125.   Plaintiff repeats, reiterates and re-alleges each and every allegation contained in the

 above paragraphs of this Complaint, with the same force and effect as if fully set forth herein.

 126.   As set forth herein, Defendants have violated Plaintiff’s rights under Law No. 100 of

 June 30, 1959, as amended 29 Laws of PR Anno. 146, et seq. (“Law 100”); Law No. 69 of July

 6, 1985, as amended, 29 Laws of PR Anno. 1321 et seq.; (“Law 69”), and Law No. 115, supra;

 Law No. 17 of April 22, 1988, as amended, 29 Laws of PR Anno. 155, et seq., (“Law 17”), the

 Puerto Rico Anti-retaliation Act, the Puerto Rico Bill of Rights, Article II, Section 1 of the

 Constitution of the Commonwealth of Puerto Rico and Article 1802 and 1803 of the Puerto Rico

 Civil Code, 31 Laws of P.R. Anno. 5141 and 5142; and P.R. Laws Ann. tit. 31, § 5141 (1991)

 ("Article 1802").




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                         AS A SEVENTEENTH CAUSE OF ACTION
                         ON BEHALF OF PLAINTIFF JANE DOE # 1
                        FOR NEGLIGENCE AND FAILURE TO WARN
                            (AGAINST DEFENDANT JOHNSON)

 127.    Plaintiff repeats, reiterates and re-alleges each and every allegation contained in the

 above paragraphs of this Complaint, with the same force and effect as if fully set forth herein.

 128.    Defendant had a duty to warn Plaintiff that he had an STD.

 129.    Defendant had a duty to advise Plaintiff that he had an STD.

 130.    Defendant breached such duties.

 131.    Plaintiff contracted the STD because of Defendant’s failure to warn and negligence.

 132.    As a result Plaintiff suffered injuries as set forth herein.



         WHEREFORE, Plaintiffs demand judgment against all Defendants, jointly and

 severally, in an amount to be determined at the time of trial plus interest, punitive damages,

 attorneys’ fees, costs, and disbursements of action; and for such other relief as the Court deems

 just and proper.



                                           JURY DEMAND

 Plaintiffs demand a jury trial on all issues to be tried.

 Dated: New York, New York
        March 18, 2019

                                                    DEREK SMITH LAW GROUP, PLLC
                                                         Attorneys for Plaintiff

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